      Case 3:18-cv-05139-BHS-DWC Document 88 Filed 10/12/18 Page 1 of 9



                                                        Honorable Judge Benjamin H. Settle
                                                              Honorable David W. Christel




                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA

JESUS CHAVEZ FLORES,
                                                   NO. 3:18-cv-05139-BSH-DWC
                                    Plaintiff,
                      v.
                                                   DECLARATION OF EUNICE H. CHO
UNITED STATES IMMIGRATION AND
CUSTOMS ENFORCEMENT; THOMAS D.
HOMAN, Deputy Director and Senior Official
Performing the Duties of the Director of the
U.S. Immigration and Customs Enforcement;
MARC J. MOORE, Director of the Seattle
Field Office of U.S. Immigration and Customs
Enforcement; BRYAN WILCOX, Deputy
Director of the Seattle Field Office of U.S.
Immigration and Customs Enforcement;
WILLIAM PENALOZA, Assistant Field
Office Director, Detention, Seattle Field Office
of U.S. Immigration and Customs
Enforcement; DREW BOSTOCK, Assistant
Field Office Director, Seattle Field Office of
U.S. Immigration and Customs Enforcement;
TIMOTHY PETRIE, Supervisory Detention
Deportation Officer, Seattle Field Office of
U.S. Immigration and Customs Enforcement;
BRIAN MUIRHEAD, Supervisory Detention
Deportation Officer, Seattle Field Office of
U.S. Immigration and Customs Enforcement;
ICE DOES 1-10; THE GEO GROUP, INC., a
      Case 3:18-cv-05139-BHS-DWC Document 88 Filed 10/12/18 Page 2 of 9



Florida corporation; LOWELL CLARK,
Warden, Northwest Detention Center;
WILLIAM MCHATTON, Associate Warden,
Northwest Detention Center, MICHAEL
BEARDSLEY, Officer, Northwest Detention
Center; LEROY PORTILLO, Captain,
Northwest Detention Center; MICHAEL
SNYDER, Lieutenant, Northwest Detention
Center; NELS RIACH, Lieutenant, Northwest
Detention Center; DAVID TRACY, Sergeant,
Northwest Detention Center; ANDREAS
GORDON, Officer, Northwest Detention
Center; LUIS AGUIRRE, Officer, Northwest
Detention Center; GEO DOES 1-10,

                                    Defendants.

       I, Eunice H. Cho, declare under penalty of perjury and the laws of the State of

Washington that the following statements are true and correct and based upon my personal

knowledge:

       1.      I am one of the attorneys of record for Plaintiff Jesus Chavez Flores in the above-

captioned matter and am competent to testify to the matters set forth therein.

       2.      Attached hereto are true and correct copies of the following documents, provided

to Plaintiff by Defendants in discovery:

               Exhibit A: Notice of Disciplinary Panel Hearing, Detainee Rights Form,
               USAO_ChavezFlores000039-40.

               Exhibit B: Administrative and Disciplinary Review Forms for Mr. Chavez,
               USAO_ChavezFlores000872-74.

       DATED this 12th of October, 2018, at Seattle, Washington.


                                                     /S/ Eunice H. Cho
                                                     Eunice H. Cho, WSBA No. 53711
Case 3:18-cv-05139-BHS-DWC Document 88 Filed 10/12/18 Page 3 of 9




                       Exhibit A
Case 3:18-cv-05139-BHS-DWC Document 88 Filed 10/12/18 Page 4 of 9




                                                    USAO_ChavezFlores000039
Case 3:18-cv-05139-BHS-DWC Document 88 Filed 10/12/18 Page 5 of 9




                                                    USAO_ChavezFlores000040
Case 3:18-cv-05139-BHS-DWC Document 88 Filed 10/12/18 Page 6 of 9




                       Exhibit B
                 Case 3:18-cv-05139-BHS-DWC Document 88 Filed 10/12/18 Page 7 of 9


Northwest Detention Center ·                                                                                           Discf              nary Detention Review
                                            ......:!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!~



On                    2/22/18                                   1100                                                                      Acting Lt Johnson
                       Date                                     Time                                                                      Reviewing Officer
                                    Chavez-Flores
                                   Name of Detainee                                                                                                    A-Number

Date Disciplinary Detention began:            2/14/18

Date Disciplinary Detention ends:             3/1/18

Detainee has been in Disciplinary Detention for                                                   9                               Days.

Reason for Disciplinary Detention:                                      210 adulteration food or drink

DOCUMENT REVIEW
                                                                                                                                                YES           NO
1.        Is the detainee being offered three showers/week?                                                                                     [ X]          [ ]
2.        Is the detainee actually showering/ bathing at least three times a week?                                                              [ X]          [ 1
3.        Is the detainee being offered exercise at least one hour daily, 7 days a week?                                                        [ X]          [ ]
4.        Is the detainee actually exercising at least one hour daily, 7 days a week?                                                           [ ]           [ X]
5.        Is the detainee being offered three meals daily and consuming at least one meal                                                       [x]           [ ]
          daily?
6.        Is the detainee receiving daily visits from medical staff?                                                                            [x]           [
7.        Are restric.ted housing officers signing and properly filling out the restricted
          housing unit record and log?              ·                                                                                           [x]
A NO" answer to any of the above questions will require that the Captain be notified.
     11




For the following reason, I am recommending the early release from Disciplinary Detention:




[ ]         Release to Population
[X).        Continue Disciplinary Detention Status
LL        .,Release.to A ministrative D_etention

                                                                  Z      2.J ~ttf
                                                                       Date                                                    ICEAFOD

Co delivered to detainee b :
Original: Detainee File
CC:       Administrative File -
          Detainee

Djsciplinary Detention Review                                                    DIS 006                                                               3-27-12




                                                                                                                                            USAO_ChavezFlores000872
               Case 3:18-cv-05139-BHS-DWC Document 88 Filed 10/12/18 Page 8 of 9


Northwest Detention Center. ---                                                                                           Dis~:- -'inary Detention Review
                                             !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!.



On                  2/15/18                                    1100                                                                          Lt Riach
                     Date                                      Time                                                                      Reviewing Officer
                                   Chavez-Flores
                                  Name of Detainee                                                                                                     A-Number

Date Disciplinary Detention began:           2/14/18

Date Disciplinary Detention ends:            3/1/18

Detainee has been in Disciplinary Detention for                                                   2                                  Days.

Reason for Disciplinary Detention:                                      210 adulteration food or drink

DOCUMENT REVIEW
                                                                                                                                               YES            NO
1.      Is the detainee being offered three showers/week?                                                                                      [ X]          [ 1
2.      Is the detainee actually showering / bathing at least three times a week?                                                              [ X]          [   ]
3.      Is the detainee being offered exercise at least one hour daily, 7 days a week?                                                         [ X]          [   ]
4.      Is the detainee actually exercising at least one hour daily, 7 days a week?                                                            [ ]           [ X]
5.      Is the detainee being offered three meals daily and consuming at least one meal                                                        [ X]          [   ]
        daily?
6.      Is the detainee receiving daily visits from medical staff?                                                                              [ X]             ]
7.      Are restricted housing officers signing and properly filling out the restricted
        housing unit record and log?                                                                                                            [ X]         [   ]

A "NO" answer to any of the above questions will require that the Captain be notified.


For the following reason, I am recommending the early release from Disciplinary Detention:




[ ]     Release to Population
I?<]:   Continue Disciplinary Detention Status
[ ] -- -Release to Ad · . istrative.Detention . .

          ~
                                                                                                                                                          · · · i,.1r1 r · ·
                                                                                                                                                                     Date

Copy delivered to detainee by:                                                                                                                         Date: .,:2. ,s-n?
Original: Detainee File             White
CC:       Administrative File -     Yellow
          Detainee                  Pink

Disciplinary Detention Review                                                     DIS 006                                                              3-27-12




                                                                                                                                             USAO_ChavezFlores000873
              Case 3:18-cv-05139-BHS-DWC Document 88 Filed 10/12/18 Page 9 of 9


 Northwest Detention Cer!qr                                                                                24-Hour ~4ministrative Detention Review
                                                    "!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!'



On 2112/18
          Date
                                 -Lt.-Riach
                                       -------- ,
                                      {Reviewing Officer)
                                                                                       Did a 24 Hour Review of the Administrative Detention status of

                       Chavez-Flores
                      Name of Detainee                                                                    A-Number

 Supervisor Authorizing Placement:                          Sgt Tracy

 Reason for Administrative Detention:                       Pending IDP

The following factors were reviewed with the results as indicated:

                                                                                                                                        'rE}       NO
 1.
 2.
 3.
        Does the reason for initial placement remain valid?
        Does the detainee pose a threat to himself?
        Does the detainee pose a threat to others?
                                                                                                                                        [ ]        !}
 4.     Does the detainee pose a threat to property?
                                                                                                                                        [~
                                                                                                                                        [ ]
                                                                                                                                        [ J-'""
                                                                                                                                                   I~
 5.
 6.
 7.
        Does the detainee pose a threat to security?
        Is the detainee defiant towards authority?
        Is the detainee unwilling or unable to live in the general population?
                                                                                                                                        [ ]
                                                                                                                                        [~
                                                                                                                                                   I}
                                                                                                                                                   [ ]
 8.     Is the detainee·s habitual conduct, language, or behavior of a type. which may
        provoke or instigate stressful/violent situations amongst the general population?                                               lY         [ ]


Reviewer's Comments:
Detainee is housed in RHU pending an IDP hearing for charge 210 adulteration of food or drink. Detainee has
participated in his UDC hearing and has an IDP hearing scheduled for Wednesday 2/14/18.



 I state that the initial reason for my placement in Protective Custody (PC) no longer remains valid. I am requesting

 removal from PC status. Translation in the Spanish or other language provided by

 Detainee Signature:                                                                            Date/Time:


Recommendation: [ %Continue                     dministrative Detention                                     [    ] Release to Population

 Reviewer Signature:            ----f.Je;---------                                              Datefrime:                   .. l._~_.._[i_ _
                                                                                                                         ;t___.._            lli___
                                                                                                                                                Q:? _ _ _ _ _ _ __


  [k1        Continue Administrative Detention Status
  [ 1        Release to Population


             ;A£~
Original: Detainee restricted housing unit file




          24 Hour Administrative Detention Review                                        DIS 015                                     11/15/2016




                                                                                                                                    USAO_ChavezFlores000874
